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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )                 4:09CR3044-7
                                         )
             v.                          )
                                         )             MEMORANDUM
HEATHER HRUBY,                           )              AND ORDER
                                         )
                    Defendant.           )
                                         )


       Defendant’s counsel has orally moved to continue Defendant’s change-of-plea
hearing set for Friday, September 4, 2009. Upon defense counsel’s representation
that the government does not object, the motion shall be granted.

      IT IS ORDERED:

       1.    The defendant’s oral motion to continue the change-of-plea hearing set
for Friday, September 4, 2009, is granted;

      2.     Counsel shall contact my judicial assistant, Kris Leininger, to reschedule
the hearing.

      DATED this 3rd day of September, 2009.

                                        BY THE COURT:
                                        Richard G. Kopf
                                        United States District Judge
